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                              No. 24-30658
             _____________________________________________

                     In the United States Court of Appeals
                              for the Fifth Circuit
              ____________________________________________

 State of Louisiana; Louisiana Oil & Gas Association; State of Mississippi, By &
    through its Attorney General, Lynn Fitch; State of Texas, By & through its
  Attorney General, Ken Paxton; Gulf Energy Alliance; Independent Petroleum
               Association of America; U.S. Oil & Gas Association,

                              Plaintiffs – Appellees,

                                         v.

      Deb Haaland, Secretary, U.S. Department of the Interior; United States
Department of Interior; Bureau of Ocean Energy Management; Elizabeth Klein, in
 her official capacity as Director of Bureau of Ocean Energy Management; Steve
Feldgus, in his official capacity as Principal Deputy Assistant Secretary for Land &
 Minerals Management; James Kendall, in his official capacity as Gulf of Mexico
                                  Regional Director,

                             Defendants – Appellees,

                                         v.

                       American Petroleum Institute,
                           Movant – Appellant.
            _______________________________________________

Appeal from the United States District Court for the Western District of Louisiana
              Case No. 2:24-CV-00820 (Hon. James D. Cain, Jr.)
          ________________________________________________

                    OPENING BRIEF OF APPELLANT
                 AMERICAN PETROLEUM INSTITUTE
            _______________________________________________
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                 CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of 5th Circuit Rule 28.2.1 have an

interest in the outcome of this case. These representations are made in order that the

Judges of this Court may evaluate possible disqualification or recusal.

   1. Plaintiffs – Appellees.

                 Party                            Represented by
       State of Louisiana          Zachary Faircloth, LA Dep’t of Justice;
                                   Caitlin Ann Huettemann, LA Attorney General
       State of Mississippi        Justin L Matheny, MS Attorney General
       State of Texas              Heather Coffee, Wesley S Williams,
                                   TX Attorney General
       Gulf Energy Alliance        Jimmy Faircloth, Jr., Barbara Bell Melton,
                                   Mary Katherine Price, Faircloth Melton Sobel
                                   & Bash, LLC;
                                   Daniel Joseph Shapiro, Jeffrey S Hetzel, Tyler
                                   R Green, Consovoy McCarthy PLLC;
                                   Stephen Christopher Dwight, Dwight Law
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       Louisiana Oil & Gas         Jimmy Faircloth, Jr., Barbara Bell Melton,
       Association                 Mary Katherine Price, Faircloth Melton Sobel
                                   & Bash, LLC;
                                   Daniel Joseph Shapiro, Jeffrey S Hetzel, Tyler
                                   R Green, Consovoy McCarthy PLLC;
                                   Stephen Christopher Dwight, Dwight Law
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       Independent Petroleum       Jimmy Faircloth, Jr., Barbara Bell Melton,
       Association of America      Mary Katherine Price, Faircloth Melton Sobel
                                   & Bash, LLC;
                                   Daniel Joseph Shapiro, Jeffrey S Hetzel, Tyler
                                   R Green, Consovoy McCarthy PLLC;
                                   Stephen Christopher Dwight, Dwight Law
                                   Firm


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   U.S. Oil & Gas           Jimmy Faircloth, Jr., Barbara Bell Melton,
   Association              Mary Katherine Price, Faircloth Melton Sobel
                            & Bash, LLC;
                            Daniel Joseph Shapiro, Jeffrey S Hetzel, Tyler
                            R Green, Consovoy McCarthy PLLC;
                            Stephen Christopher Dwight, Dwight Law
                            Firm

2. Federal Defendants.

           Party                        Represented by
   Deb Haaland            Katharine Laubach, Paul Turcke, U.S. Dep’t of
                          Justice
   U S Dept of Interior   Katharine Laubach, Paul Turcke, U.S. Dep’t of
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   Bureau of Ocean Energy Katharine Laubach, Paul Turcke, U.S. Dep’t of
   Management             Justice
   Elizabeth Klein        Katharine Laubach, Paul Turcke, U.S. Dep’t of
                          Justice
   Steve Feldgus          Katharine Laubach, Paul Turcke, U.S. Dep’t of
                          Justice
   James Kendall          Katharine Laubach, Paul Turcke, U.S. Dep’t of
                          Justice

3. Amici.

             Party                         Represented by
   Center for Biological   Michael Lawrence Brown, Ava Ibanez
   Diversity               Amador, Earthjustice
   Healthy Gulf            Michael Lawrence Brown, Ava Ibanez
                           Amador, Earthjustice
   Oceana                  Michael Lawrence Brown, Ava Ibanez
                           Amador, Earthjustice
   Ocean Conservancy       Michael Lawrence Brown, Ava Ibanez
                           Amador, Earthjustice
   Louisiana Mid-Continent Tod J. Everage, Lauren Jean Rucinski, Kean
   Oil & Gas Association   Miller LLP




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                            /s/ James M. Auslander
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                            Attorney for Movant – Appellant
                            American Petroleum Institute




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             STATEMENT REGARDING ORAL ARGUMENT

      Pursuant to 5th Cir. R. 28.2.3, Appellant American Petroleum Institute

(“API”) waives oral argument to expedite a decision and because it believes the

intervention issues will be adequately addressed on the briefs. Nonetheless, its

counsel are available for oral argument should the Court deem it helpful or

necessary.




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                       JURISDICTIONAL STATEMENT

      The State of Louisiana, the Louisiana Oil & Gas Association, the State

of Mississippi, the State of Texas, the Gulf Energy Alliance, the Independent

Petroleum Association of America, and the U.S. Oil & Gas Association

(collectively, “Plaintiffs”) invoked the district court’s jurisdiction under the

Administrative Procedure Act, 5 U.S.C. § 701 et seq., 28 U.S.C. § 1346 (United

States as defendant), 28 U.S.C. § 1331 (federal question), and 28 U.S.C. § 1361

(mandamus).

      This Court has jurisdiction over this appeal pursuant to 28 U.S.C. § 1291. On

September 9, 2024, the district court denied API’s motion to intervene as a defendant

in this action. ROA.2730-38, 2739. API timely filed its notice of appeal pursuant

to Fed. R. App. P. 3(a)(1) and 4(a)(1)(B) on October 4, 2024. ROA.2850. The

denial of a motion to intervene as of right is an immediately appealable final order.

Edwards v. City of Houston, 78 F.3d 983, 992 (5th Cir. 1996). This Court also has

provisional jurisdiction to determine whether the district court erroneously denied a

motion for permissive intervention. Id.




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                                INTRODUCTION

      The district court’s denial of intervention allows only a portion of the offshore

oil and natural gas industry to participate in a challenge to a Department of the

Interior rulemaking (“Rule”) governing the entire industry.1 Among other things,

Plaintiff industry associations and states seek to disavow longstanding financial

assurance obligations of current Outer Continental Shelf (“OCS”) lease and grant

interest holders, and to thrust those obligations improperly upon predecessor interest

holders. The district court’s denial of intervention curtails full defense of the Rule

by excluding those industry members—API and its members—who would bear the

brunt of Plaintiffs’ novel theory of offshore obligations.

      The district court erred in summarily denying intervention as of right merely

because API and its members share Federal Defendants’ end goal to dismiss

Plaintiffs’ claims. That misapplies the relevant legal standard for intervention.

Moreover, API and its members’ interests are distinct from those of Federal

Defendants in several important ways, including as evident by: the Bureau of Ocean

Management’s (“BOEM”) rejection of API’s proposed rule comments providing

suggestions for key aspects of the Rule; the direct targeting of API members in

Plaintiffs’ Complaint; and API’s unique ability to refute Plaintiffs’ misleading


1
 Risk Management and Financial Assurance for OCS Lease and Grant Obligations,
89 Fed. Reg. 31,544 (Apr. 24, 2024), ROA.2041-96.
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portrayal of OCS business transactions. Further, API’s separate and distinct interests

may only further magnify as the litigation progresses. The district court also abused

its discretion in denying permissive intervention because it disregarded API’s filed

responsive pleading identifying defenses and responses to Plaintiffs’ claims.

      The district court’s relegation of API to mere amicus curiae status has already

prejudiced API and its members, and these harms will only increase in severity as

this case proceeds without API as an intervenor-defendant party. This Court should

reverse and order the district court to grant API intervention.

            STATEMENT OF ISSUES PRESENTED FOR REVIEW

      1.        Did the district court err in denying API intervention as of right under

Federal Rule of Civil Procedure 24(a)(2)?

      2.        Did the district court abuse its discretion in denying API permissive

intervention under Federal Rule of Civil Procedure 24(b)(1)(B)?

                            STATEMENT OF THE CASE

      For decades, BOEM’s regulations have obligated current interest holders of

OCS oil and gas leases and grants to provide supplemental financial assurance to

BOEM       to    ensure performance      of       their   accrued obligations, including

decommissioning of wells, platforms, pipelines and other facilities. See generally 30

C.F.R. part 556, subpart I; 58 Fed. Reg. 45,255 (Aug. 27, 1993). The purpose of such

financial assurance is to ensure BOEM’s access to sufficient funds, without

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burdening taxpayers, to complete decommissioning and other obligations in the event

that the current interest holders fail to perform their accrued obligations. Under

BOEM’s longstanding regulations, even pre-dating the Rule challenged here,

financial assurance to BOEM has always been the sole responsibility of current

interest holders. See, e.g., 30 C.F.R. § 556.902(a) (2023) (“you, as lessee, operating

rights owner or operator”). That security obligation is consistent with BOEM and its

sister agency the Bureau of Safety and Environmental Enforcement routinely holding

current interest owners responsible in the first instance for performing their

obligations, even if they ultimately refuse or are unable to do so. See, e.g., 30 C.F.R.

§§ 550.147(a), 556.710, 250.1708(c).

      The Rule challenged by Plaintiffs does not remove or expand BOEM’s

authority to demand supplemental financial assurance. Nor does the Rule alter any

company’s (current or predecessor interest holder) accrued liability for OCS lease

and grant obligations. Rather, the Rule adopts simpler and more objective standards

clarifying the circumstances in which BOEM “may” (not must) exercise its authority

to require supplemental financial assurance.          E.g., 30 C.F.R. § 556.901(d),

ROA.2091.      Under the Rule, BOEM will not require supplemental financial

assurance if at least one of the current interest holders has an investment-grade credit

rating, or there exists a greater than 3:1 ratio of proven remaining oil and gas reserves

value (for a lease, unit, or field) to estimated decommissioning costs. 30 C.F.R.

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§ 556.901(d)(1)-(4) (2024), id.      The Rule removed other prior criteria (e.g.,

compliance history) that BOEM upon further consideration found did not relate to a

need for more financial assurance. 89 Fed. Reg. at 31,550, ROA.2047. The net

result is that the Rule clarifies from whom BOEM will not seek supplemental

financial assurance, because BOEM determined that their investment grade credit

ratings or substantial net reserves present a sufficiently low risk of default on their

obligations. But never have BOEM’s regulations—whether adopted previously or in

the Rule—enabled BOEM to consider the existence or financial strength of

predecessors in the chain of title when deciding whether BOEM needed to demand

supplemental financial assurance from a current interest holder.

      API is the nation’s leading trade association for the oil and natural gas industry,

and its nearly 600 members conduct much of the exploration, production, refining,

marketing, and transportation of petroleum and petroleum products in the United

States. API’s members include companies that currently hold and previously held

interests in OCS oil and gas leases and grants and are thus directly regulated by the

Rule. API and its members actively participated in the rulemaking process, including

submission of detailed comments to BOEM.2


2
  See API Comment Letter, https://downloads.regulations.gov/BOEM-2023-0027-
2006/attachment_1.pdf; see also Chevron U.S.A. Inc. Comment Letter,
https://downloads.regulations.gov/BOEM-2023-0027-1974/attachment_1.pdf;
Shell Offshore Inc. Comment Letter, https://downloads.regulations.gov/BOEM-
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      On June 17, 2024, Plaintiffs filed a Complaint in the United States District

Court for the Western District of Louisiana against the BOEM and related Federal

Defendants (collectively, BOEM).        ROA.22.      Plaintiffs’ Complaint explicitly

targeted API’s members in addition to BOEM.               Plaintiffs allege that certain

companies, including specific API members, helped develop the Rule, which they

wrongly claim “bails [those companies] out” from future decommissioning costs they

“knowingly and voluntarily assumed.” ROA.36, 40, 91; ROA.1638.                 Industry

Plaintiffs among other things attempt to disclaim much of their supplemental

financial assurance requirements for decommissioning obligations because they

believe that predecessor entities like API members should assure them instead.

Plaintiffs’ Complaint seeks declaratory and injunctive relief to enjoin implementation

of the Rule and to vacate and set aside the Rule as unlawful. ROA.101.

      Before Federal Defendants filed any responsive pleading, API on July 16,

2024, filed a motion to intervene as of right under Federal Rule of Civil Procedure

24(a)(2), and alternatively permissively under Rule 24(b)(1)(B). ROA.1616. API

filed a corrected motion (“Motion”) on July 18, 2024. ROA.1630. API’s Motion

and supporting briefing demonstrated API’s and its members’ deep interests in the

Rule and the outcome of this litigation, and focused on how its intervention will



2023-0027-2012/attachment_1.pdf; bp America, Inc. Comment Letter,
https://downloads.regulations.gov/BOEM-2023-0027-2003/attachment_1.pdf.
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assist the court’s understanding of the Rule and the issues in this case. ROA.1634.

The Motion also explained that API and its members are the best advocates for their

unique interests and that no party will adequately represent them in defending certain

aspects of the Rule because the financial burdens the industry Plaintiffs seek to shift

will fall largely on API’s members. ROA.1636-41.

      Plaintiffs untimely opposed intervention. ROA.1680. Federal Defendants did

not oppose intervention. Plaintiffs conceded that API’s Motion was timely, and that

API has a protectable interest in the subject of this case that is threatened by Plaintiffs’

requested relief. ROA.1683. To exclude industry members with views different than

their own, Plaintiffs argued that BOEM adequately represents API because to date both

of those parties have advocated for upholding the Rule. Plaintiffs also argued that

API’s defenses to Plaintiffs’ claims were too uncertain for permissive intervention.

      While API’s Motion was pending, BOEM filed its Answer to the Complaint on

August 19, 2024. ROA.2606. API filed its own proposed Answer one week later on

August 26, 2024. ROA.2693.

      On September 9, 2024, the district court issued a Memorandum Ruling

(“Ruling”) and Judgment denying API’s Motion. ROA.2730-38, 2739. The district

court found that API satisfied the first three (unopposed) criteria for intervention as of

right under Rule 24(a). ROA.2734-36. Yet, in a single paragraph, the district court

held that API’s private interests mirror BOEM’s interests and denied intervention as

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of right on that basis. ROA.2737. Then the district court, again in a single paragraph,

held that it was “inappropriate” to grant permissive intervention because API had not

indicated “what defenses or responses it intends to raise,” via a proposed pleading or

in its Motion briefing—even though API had already filed its proposed Answer

including its defenses and responses. ROA.2738.

      Plaintiffs on June 20, 2024 also filed a motion for an administrative stay or

preliminary injunction of the Rule. ROA.809. While awaiting a decision on its

intervention Motion, API filed a proposed opposition to Plaintiffs’ motion, adhering

to the same August 13, 2024 deadline as for BOEM’s opposition. ROA.1695. In its

September 9, 2024 Ruling and Judgment denying API intervention, the district court

stated that it would treat API’s opposition “as an amicus brief.” ROA.2738-39. On

October 3, 2024, the district court held oral argument on Plaintiffs’ motion for

preliminary relief, with API foreclosed from participating in the hearing. A ruling on

Plaintiffs’ motion remains pending. On December 5, 2024, BOEM lodged the

administrative record for the Rule with the district court. Dkt. No. 89.

      API appeals the district court’s denial of intervention so that API may timely

and meaningfully participate in the ongoing litigation challenging the Rule.

                          SUMMARY OF ARGUMENT

      The district court erred in denying API intervention as of right, which this

Court reviews de novo and should reverse. The district court acknowledged—but

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then disregarded—this Court’s “broad policy favoring intervention” by regulated

entities and their trade associations. ROA.2733 (citing Wal-Mart Stores, Inc. v.

Texas Alcoholic Beverage Comm’n, 834 F.3d 562, 569 (5th Cir. 2016)). Under this

Court’s precedent, industry associations and other regulated persons have routinely

intervened in cases challenging regulations that govern their conduct.             API

undisputedly satisfied the first three factors for intervention as of right. On the only

disputed factor, API readily satisfied what the district court recognized is a

“minimal” burden to show that the specific private interests of API and its members

are distinguishable from BOEM’s public charge. ROA.2736.

      Alternatively, this Court should reverse the district court’s denial of

permissive intervention. The district court mistakenly faulted API for filing “no

proposed pleading” (ROA.2738), but API in fact had already filed an Answer to the

Complaint. ROA.2693-2728. And in any event, API’s position on Plaintiffs’ claims

was already clear.

      Participation as amicus curiae is insufficient to protect the unique interests of

API and its members in this case.

                            STANDARD OF REVIEW

      The district court’s denial of intervention as of right is reviewed de novo. Wal-

Mart, 834 F.3d at 569. The district court’s denial of permissive intervention is



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reviewed for abuse of discretion. Newby v. Enron Corp., 443 F.3d 416, 423 (5th

Cir. 2006).

                                    ARGUMENT

I.    API Is Entitled to Intervention as of Right.

      A motion to intervene as of right is governed by Rule 24(a). Fed. R. Civ. P.

24(a); Ross v. Marshall, 426 F.3d 745, 753 (5th Cir. 2005). An intervention motion

must “timely” show that the moving party has “an interest relating to the property or

transaction that is the subject of the action,” that it “is so situated that disposing of

the action may as a practical matter impair or impede the movant’s ability to protect

its interest,” and that existing parties may not “adequately represent” that interest.

Fed. R. Civ. P. 24(a).

      Particularly where the putative intervenor has standing—which is undisputed

here—the requirements of Rule 24(a) are to be construed liberally, with doubts

resolved in favor of intervention. Wal-Mart, 834 F.3d at 566, n.3, 569; Entergy Gulf

States La., LLC v. U.S. EPA, 817 F.3d 198, 203 (5th Cir. 2016). Intervention “should

generally be allowed where ‘no one would be hurt and greater justice could be

attained.’” Ross, 426 F.3d at 753 (quoting Sierra Club v. Espy, 18 F.3d 1202, 1205

(5th Cir. 1994)). As pertinent here, it is well-established that intervention as of right

requires only that representation by an existing party “may be” inadequate, and that

burden is “minimal.” Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538–

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39, n.10 (1972) (emphasis in original); Wal-Mart, 834 F.3d at 569 (same). This broad

policy favoring intervention readily supports API’s intervention in this case.

      The district court here paid mere lip service to this presumption in holding that

BOEM adequately represents API and its members. ROA.2736-37. The district court

cursorily found that “API has neither provided any support for these conclusions [that

BOEM does not adequately represent API and its members] nor attempted to explain

how its interests diverge from defendants’ interests in defending the regulation.”

ROA.2737. But that is wrong.

      As API explained to the district court in support of its Motion, BOEM

represents the public interests of a federal government agency, but not the specific,

private interests of API and its members. This Court and other Circuits have

confirmed that representation is inadequate in these circumstances. See, e.g., Espy,

18 F.3d at 1208; see also id. at 1207 (“The government must represent the broad

public interest, not just the economic concerns of . . . industry.”); WildEarth

Guardians v. U.S. Forest Serv., 573 F.3d 992, 996 (10th Cir. 2009) (noting that the

government represents “the public interest generally,” not the “individual parochial

interest” of an intervenor) (internal citation omitted); Fund for Animals, Inc. v.

Norton, 322 F.3d 728, 736–37 (D.C. Cir. 2003) (explaining that “we have often

concluded that governmental entities do not adequately represent the interests of



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aspiring intervenors,” and that the government cannot be expected to protect the

financial interest of private parties).

       Indeed, as the Supreme Court explained in Trbovich, a government agency

cannot be characterized as able adequately to represent the interests of an intervenor

that is subject to the challenged action if the agency has substantially similar interests

to the potential intervenor, but has a statutory charge to pursue a different goal as

well. See Trbovich, 404 U.S. at 538–39. So too here for API and its members.

BOEM’s central charge is to ensure that the public is not forced to pay for end-of-

life offshore operations, such as decommissioning. Although API and its members

share the BOEM’s interest in safe operation and decommissioning of offshore

facilities, they have further interests in preventing industry Plaintiffs from

transferring their financial burdens onto API members—something that is not at the

core of BOEM’s interest.

       For that main reason, BOEM and API do not share the same mind on all aspects

of the Rule, as exhibited by the Rule’s adoption of provisions API disfavored—such

as making supplemental financial assurance from current lessees discretionary

(“may”) rather than mandatory. 30 C.F.R. § 556.901(d), ROA.2091. Moreover,

industry Plaintiffs directly target the interests of API member companies—not

BOEM—by attempting to rely on predecessor liability in lieu of those Plaintiffs

providing supplemental financial assurance as current interest holders. ROA.36, 40,

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91; ROA.1638. API also is uniquely situated to refute Plaintiffs’ misleading

portrayal of OCS business transactions, whereas BOEM is largely unconcerned with

or not privy to such commercial information.              ROA.2595; ROA.1719-22;

ROA.1726-32. API also frequently is a party adverse to BOEM in other litigation

involving OCS actions.        The district court overlooked all of these basic

circumstances distinguishing BOEM’s and API’s interests.

      Additionally, BOEM’s participation is no substitute because API presently

cannot know what arguments Plaintiffs will assert, or what litigation position or

defenses BOEM will pursue. This Circuit recognizes the reality that no one can

forecast how litigation will proceed at the outset of litigation when intervention must

“timely” occur. Fed. R. Civ. P. 24(a)(2); Wal-Mart, 834 F.3d at 569 (“Because

intervention necessarily occurs before the litigation has been resolved, the

Association need only show that ‘the representation may be inadequate.’”) (emphasis

in original, citation omitted). And, as an intervenor, API has long raised dispositive

issues where the defendant government agency failed to do so. See, e.g., Ctr. for

Biological Diversity v. U.S. EPA, 937 F.3d 533, 536 (5th Cir. 2019) (holding that

petitioners lacked Article III standing where “EPA initially agreed Petitioners had

standing” but “Intervenor American Petroleum Institute argued otherwise”); Ctr. for

Sustainable Econ. v. Jewell¸ 779 F.3d 588, 593, 599–600 (D.C. Cir. 2015) (finding



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petitioner’s NEPA claims unripe where ripeness issue was raised only by intervenor

API, with government respondents conceding ripeness).

      Similarly, as borne out by briefing on Plaintiffs’ pending motion for

preliminary relief, BOEM and API may focus on different aspects of the Rule and

offer different arguments. For example, API’s brief focused more on exposing

Plaintiffs’ misleading arguments about accrued liability for decommissioning, false

narratives including that the Rule pits smaller operators against “big oil,” and the

misrepresentations of complex business realities on the OCS. ROA.1695-1724;

ROA.1726-32.

      API further cannot control whether, if Plaintiffs were to prevail on the merits,

BOEM would appeal to defend the Rule. As an intervenor, API could appeal in that

scenario even if Federal Defendants did not. That alone supports, rather than defeats,

API’s intervention. See Heaton v. Monogram Credit Card Bank of Ga., 297 F.3d

416, 425 (5th Cir. 2002) (that government and private party’s interests “may diverge

in the future . . . is enough to meet the . . . burden on this issue [of whether existing

parties adequately protect the intervenor’s interest]”); Sierra Club v. Glickman, 82

F.3d 106, 110 (5th Cir. 1996) (“the interests of [association’s] members will not

necessarily coincide” with the government’s broader interests, “even though, at this

point, they share common ground”).



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      Granting API intervention in this case is in line with this Court’s precedent,

but that too was overlooked by the district court. For example, in Wal-Mart, the

plaintiffs “allege[d] that the regulatory system . . . operates exclusively for the

benefit of the [intervenor] Association’s members,” and “[t]he Association seeks to

intervene in defense of the regulatory system.” 834 F.3d at 564. This Court reversed

the district court’s denial of intervention that was based on the plaintiffs’ opposition.

Id. at 564–55. Specifically, this Court found that the State Commission defendant

did not adequately represent the industry association’s interests, regardless of any

shared “ultimate objective” in the litigation. Id. at 569. Those interests—“protecting

its members’ businesses—are narrower than the Commission’s broad public

mission.” Id. Moreover, the Commission had to “defend all portions of the

litigation,” whereas the association was focused on certain aspects. Id. Finally,

intervenors could raise “arguments that the Commission cannot make.” Id. That

case—which the district court cited elsewhere but not on inadequate representation

(ROA_2733-34)—warrants similarly granting intervention here, where API’s

members have narrower and differed interests than BOEM, and API can offer unique

arguments to refute Plaintiffs’ misleading portrayal of business realties on the OCS.

      Consistently, this Court has granted intervention to industry associations and

other regulated persons to defend challenges involving regulatory schemes that

govern their conduct—notwithstanding the presence of a federal agency defendant

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looking to achieve the same end result.               E.g., Wal-Mart, 834 F.3d at 569

(“[A]ssociations representing licensed business owners have a right to intervene in

lawsuits challenging the regulatory scheme that governs the profession.”); id. at 569

n.9 (collecting similar cases); Espy, 18 F.3d at 1208 (federal government did not

adequately represent industry associations seeking to defend challenge to

management of national forests, and finding: “The government must represent the

broad public interest, not just the economic concerns of the timber industry.”); cf.

Heaton, 297 F.3d at 425 (federal agency granted intervention to defend lawsuit against

bank despite that they “agreed on the merits of the substantive issues to be litigated”).

Meanwhile, the district court cited no case finding a government agency’s adequate

representation of industry interests, particularly in defending a regulation directly

addressing industry operations. The district court failed to address the authority in

this Circuit or justify its departure in this case.

       Thus, API’s legitimate interests in the outcome of this litigation are not

in fact adequately represented by the existing parties. At bottom, if Plaintiffs

can facially challenge the Rule purportedly on behalf of the oil and gas industry,

then API representing members of that same industry with differing views on

the issue ought to have the right to intervene in defense of that Rule. BOEM

does not represent the interests of API and its members any more than BOEM



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represents the interests of Plaintiffs within the same industry. The district court

erred in concluding otherwise. This Court should reverse on that ground alone.

II.    The District Court Abused Its Discretion in Denying API’s Motion for
       Permissive Intervention.

       The district court also improperly denied API permissive intervention. A party

may permissively intervene if it “has a claim or defense that shares with the main

action a common question of law or fact,” as long as permitting intervention would

not “unduly delay or prejudice the adjudication of the original parties’ rights.” Fed.

R. Civ. P. 24(b)(1)(B), 24(b)(3). “[T]he ‘claim or defense’ portion of Rule 24(b)(2)

[is] construed liberally.” Newby, 443 F.3d at 422 (citations omitted). API again easily

cleared this bar.

       Nonetheless, the district court concluded that it could not assess any shared

claim or defense because API did not provide a “proposed pleading stating what

defenses or responses it intends to raise” or “defenses or responses in its motion[.]”

ROA.2738.       Notably, the district court did not base its denial on a non-

contemporaneous responsive pleading—and for good reason, as a responsive pleading

often follows a motion to intervene where the intervenor’s position is clear and the

parties suffer no prejudice. See, e.g., Charles Alan Wright, et al., 7C Federal Practice

and Procedure § 1914 (3d ed. 2020) (“a number of [] cases have refused to require

strict compliance [with Fed. R. Civ. P. 24(c)]”).


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      More importantly as a factual matter, the district court mistakenly disregarded

that API had filed its proposed Answer to the Complaint over two weeks before the

Ruling. ROA. 2693. What is more, two weeks before its filed Answer, API filed its

proposed opposition to Plaintiffs’ motion for preliminary relief, specifying its

defenses and responses to Plaintiffs’ claims. ROA.1695. Thus, the district court’s

conclusion that API had not offered its substantive positions is at odds with the

record and was an abuse of discretion. See Bocanegra v. Vicmar Servs., Inc., 320

F.3d 581, 584 (5th Cir. 2003) (“A trial court abuses its discretion when its ruling is

based on an erroneous view of the law or a clearly erroneous assessment of the

evidence.”).

      Lastly, the district court stated that API’s “perspective may be provided in an

amicus brief.” ROA.2738. But as API pointed out to the district court, that is cold

comfort. To begin with, Rule 24’s plain text nowhere suggests that potential

involvement as amicus curiae forms any basis of the intervention inquiry. See

generally Fed. R. Civ. P. 24. More importantly, amicus curiae status is insufficient

to protect API’s interests in this case. The district court noted this argument, but

nowhere addressed it. ROA.2732 (“Participating as an amicus curiae, API asserts,

would not afford API the rights it seeks.”). Without party status, API lacks the rights

of a party to this case, including to participate in full briefing, scheduling

discussions, any settlement, or any appeal. See also Utahns for Better Transp. v.

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U.S. Dep’t of Transp., 295 F.3d 1111, 1115 (10th Cir. 2002) (“the right to file a brief

as amicus curiae is no substitute for the right to intervene as a party in the action

under Rule 24(a)(2)”) (citation omitted).

      API and its members are already accruing those harms. API has been

excluded from oral argument on Plaintiff’s motion for preliminary relief, discussions

surrounding BOEM’s recently lodged administrative record, and discussions on

ensuing merits briefing.     Meanwhile, the district court identified no delay or

prejudice to other parties from allowing API to intervene as a defendant party.

      Thus, the district court abused its discretion by denying permissive

intervention and should be reversed on that alternative ground as well.

                                  CONCLUSION

      For the reasons above, the Court should grant API’s appeal, reverse the district

court, and direct the district court to grant API intervention in defense of the Rule.

Dated: December 24, 2024                Respectfully submitted,

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      I hereby certify that the foregoing was filed electronically with the Clerk of

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      Dated: December 24, 2024                /s/ James M. Auslander
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